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                     UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION


 WALGREEN CO.,
         Plaintiff
                                                      No. 21 CV 2522
        v.
                                                      Judge Jeremy C. Daniel
 AARON PETERS, et al.,
          Defendants


                     MEMORANDUM OPINION AND ORDER

       This case is before the Court on the counterclaim defendant’s motion to dismiss

the amended counterclaim. (R. 663; R. 664.) The amended counterclaim alleges

claims under the Racketeer Influenced and Corrupt Organizations Act, Illinois state

law for tortious interference with prospective economic advantage, the Illinois

Consumer Fraud and Deceptive Business Practices Act, and the Illinois Uniform

Deceptive Trade Practices Act. (R. 641.) For the reasons discussed in this order, the

Court grants-in-part and denies-in-part the motion.

                                    BACKGROUND

       This case is before the Court on counterclaim defendants Walgreen Co.

(“Walgreens”), Christoper Noble, Haidee Martinez, Steven M. Swanson II, Swanson

Development Group LLC (“Swanson”), Yvette Flores, and Cardinal Green

Investments LLC’s (“Cardinal”) motion to dismiss counterclaim plaintiff L2 Partners

LLC’s (“L2”) amended counterclaim. (R. 663; R. 664.)1 L2 filed its first counterclaim


   1 For ECF filings, the Court cites to the page number(s) set forth in the document’s ECF

header unless citing to a particular paragraph or other page designation is more appropriate.
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bringing claims against all counterclaim defendants2 under the Racketeer Influenced

and Corrupt Organizations Act (“RICO”), 18 U.S.C. § 1962(c)–(d), (Counts I & II),

Illinois state law for tortious interference with prospective economic advantage

(Count III), and the Illinois Uniform Deceptive Trade Practices Act (“IDTPA”), 815

ILCS 510/1 et seq., (Count V); L2 also brought a claim under the Illinois Consumer

Fraud and Deceptive Business Practices Act, (“ICFA”) 815 ILCS 505/1 et seq., (Count

IV) against Walgreens. (R. 440 at 110, 119, 120, 123–24.) The Court denied the

counterclaim defendants’ motions to dismiss Counts I–III of L2’s first counterclaim

but granted the motions with respect to Counts IV and V. (R. 613.) L2 has since filed

an amended counterclaim alleging the same five counts. (See generally R. 640; R.

641.)

        Generally, L2 alleges the counterclaim defendants developed a kickback

scheme called the Shared Savings Program (“SSP”) to generate quick cash at the

expense of landlords who owned Walgreens-leased properties. (R. 640 ¶¶ 2–3.) Under

the alleged scheme, Walgreens first sent landlords “poor performance” letters falsely

stating that their stores were at risk of closing. (Id. ¶ 22.) This frightened landlords

into selling their properties below fair market value. (Id.) On behalf of Walgreens,

Noble and Martinez recruited Swanson, controlled by Steven M. Swanson II, and




For documents filed under seal, the Court cites the sealed version of the documents while
attempting not to reveal any information that could be reasonably deemed confidential.
Confidential information is discussed to the extent necessary to explain the path of the
Court’s reasoning. See In re Specht, 622 F.3d 697, 701 (7th Cir. 2010); Union Oil Co. of Cal.
v. Leavell, 220 F.3d 562, 568 (7th Cir. 2000).
    2 The original counterclaim also named several other counterclaim defendants who were

dismissed and not re-named in the amended counterclaim.
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Cardinal, controlled by Flores, to purchase the properties. (Id. ¶ 2.) Walgreens would

also, in some cases, exercise its right of first refusal to match other offers and then

assign the purchases to Swanson or Cardinal. (Id. ¶ 8.) Walgreens would then

negotiate more valuable rental agreements with Swanson and Cardinal, increasing

the properties’ values; Swanson and Cardinal would sell the properties at a profit and

kickback a portion of those profits to Walgreens. (Id. ¶ 4.) This scheme put L2 at a

competitive disadvantage in the market for Walgreens-leased properties. (Id. ¶ 26.)

                                 LEGAL STANDARD

      The counterclaim defendants move to dismiss L2’s amended counterclaim

under Rules 12(b)(1), 12(b)(6), and 9(b) of the Federal Rules of Civil Procedure. (R.

663 at 1.)

      “Rule 12(b)(1) is the means by which a defendant raises a defense that the

court lacks subject-matter jurisdiction.” Bazile v. Fin. Sys. of Green Bay, Inc., 983

F.3d 274, 279 (7th Cir. 2020). A motion under Rule 12(b)(1) may be either a facial

challenge or a factual challenge. “A facial attack tests whether the allegations, taken

as true, support an inference that the elements of standing exist.” Id. In a factual

challenge, “the [C]ourt may consider and weigh evidence outside the pleadings to

determine whether it has power to adjudicate the action.” Id. (citing Venezuela v.

Helmerich & Payne Int’l Drilling Co., 581 U.S. 170, 173 (2017)).

      The Court applies the same standard on a Rule 12(b)(6) motion to dismiss a

counterclaim as it does on a motion to dismiss a complaint for failure to state a claim.

See Cozzi Iron & Metal, Inc. v. U.S. Off. Equip., Inc., 250 F.3d 570, 574 (7th Cir. 2001).



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To survive under Rule 12(b)(6), a pleading must “state a claim to relief that is

plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl.

Corp. v. Twombly, 550 U.S. 544, 570 (2007)). A counterclaim satisfies this standard

when its factual allegations “raise a right to relief above the speculative level.” See

Twombly, 550 U.S. at 555–56 (citations omitted). The Court “accept[s] the allegations

in the complaint as true unless they are ‘threadbare recitals of a cause of action’s

elements, supported by mere conclusory statements.’” Katz-Crank v. Haskett, 843

F.3d 641, 646 (7th Cir. 2016) (quoting Iqbal, 556 U.S. at 663).

      Additionally, “under Rule 9(b), a [pleading] ‘alleging fraud or mistake . . . must

state with particularity the circumstances constituting fraud or mistake.’” United

States ex rel. Presser v. Acacia Mental Health Clinic, 836 F.3d 770, 776 (7th Cir. 2016)

(second alteration in original) (quoting Fed. R. Civ. P. 9(b)). The pleading “ordinarily

must describe the ‘who, what, when, where, and how’ of the fraud—‘the first

paragraph of any newspaper story.’” Id. (quoting United States ex rel. Lusby v. Rolls-

Royce Corp., 570 F.3d 849, 853 (7th Cir. 2009)).

                                      ANALYSIS

   I. DOCUMENTS ATTACHED TO THE MOTION

      The counterclaim defendants first argue that the Court should review and

consider exhibits attached to their motion (R. 663-2 to R. 663-9; R. 664-7 to R. 664-

11) to resolve whether L2 has standing to bring its RICO and tortious interference

claims. They argue the Court may consider these exhibits as (1) “necessary for the

Court to resolve the jurisdiction issue of standing,” or (2) because they “are central to



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L2’s claims” or “are cited or incorporated by reference in L2’s Amended

Counterclaim.” (R. 663-1 at 7 n.5.) The Court will address each of these arguments in

turn.

        First, the Court does not agree that it may consider these exhibits to resolve

the jurisdictional issue. The counterclaim defendants are correct in stating that the

Court may consider extrinsic evidence to resolve the issue when a party brings a

factual challenge to the Court’s jurisdiction under Rule 12(b)(1). However, “where a

challenge to the [C]ourt’s jurisdiction is also a challenge to the existence of a federal

cause of action”—or, in other words, “also an element of [the] plaintiff’s federal cause

of action”—“the Supreme Court has stated that jurisdiction cannot be defeated by the

possibility that [the] plaintiff may not have stated a cause of action.” Malak v.

Associated Physicians, Inc., 784 F.2d 277, 279 (7th Cir. 1986) (citing Bell v. Hood, 327

U.S. 678, 682 (1946)).

        The counterclaim defendants’ jurisdictional argument is that L2 lacks

standing because the counterclaim defendants never harmed L2. (See R. 663-1 at 14–

20, 24–26.) To establish standing, “a litigant must show [among other things] . . . that

she ‘suffered a concrete and particularized injury that is either actual or imminent’”

and “that the injury is fairly traceable to the defendant.” Milwaukee Police Ass’n v.

Flynn, 863 F.3d 636, 639 (7th Cir. 2017) (quoting Massachusetts v. EPA, 549 U.S. 497,

517 (2007)). However, L2 must also prove this as part of its RICO and tortious

interference claims. To succeed on its a tortious interference claim under Illinois law,

L2 must prove “damage . . . resulting from the defendant’s interference.” Borsellino



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v. Goldman Sachs Grp., Inc., 477 F.3d 502, 508 (7th Cir. 2006) (quoting Voyles v.

Sandia Mortg. Corp., 751 N.E.2d 1126, 1133–34 (2001)). Likewise, L2’s RICO claims

require proof that L2 was a “person injured in his business or property by reason of a

violation of section 1962.” 18 U.S.C. 1964(c). Though this “has been interpreted as a

standing requirement, rather than an element of the cause of action,” Vazquez v.

Cent. State Joint Bd., 547 F. Supp. 2d 833, 856 (N.D. Ill. 2008), it is a statutory

standing requirement, see Sidney Hillman Health Ctr. of Rochester v. Abbott

Laboratories, 192 F. Supp. 3d 963, 967 (N.D. Ill. 2016) (citing DeGuelle v. Camilli,

664 F.3d 192, 199 (7th Cir. 2011)).

             Statutory standing specifically asks whether a party can
             obtain relief under the [applicable law], which means that,
             despite its name, it does not actually implicate standing or
             subject matter jurisdiction at all. Statutory standing
             instead addresses whether there is a valid cause of action
             under which to proceed and thus requires a court to
             conduct its analysis with the same latitude afforded to the
             plaintiffs as in an analysis for dismissal under Rule
             12(b)(6).

Orthopediatrics Corp. v. Wishbone Med., Inc., No. 20 C 929, 2021 WL 3887243, at *4

(N.D. Ind. Aug. 31, 2021) (citations omitted). Because § 1964(c) is a statutory standing

requirement, it goes to the existence of a cause of action rather than the Court’s

jurisdiction. Accordingly, “the factual dispute[s] about injury-in-fact here present[] a

distinct problem because [they are] inherently intertwined with the merits” of L2’s

claims. Id. at *5 (collecting cases and noting “[p]rior courts confronted with similar

situations of intertwined standing and merits decisions at the motion to dismiss stage

have held that dismissal for lack of standing is not appropriate”). The Court therefore

finds resolving the counterclaim defendants’ jurisdictional argument as a factual
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challenge would be inappropriate at this stage; consequently, reviewing the

counterclaim defendants’ exhibits on that basis would be inappropriate. Specifically,

the Court does not consider Exhibits A–F, L and M, which the counterclaim

defendants argue prove L2 lacks standing. (R. 702 at 3.)

      Second, the Court disagrees that it may consider the counterclaim defendants’

exhibits, except for Exhibit H, because they are central to or referenced in L2’s

Amended Counterclaim. “In general, a court may only consider the . . . complaint

when ruling on a Rule 12(b)(6) motion.” Burke v. 401 N. Wabash Venture, LLC, 714

F.3d 501, 505 (7th Cir. 2013). However, “[d]ocuments attached to a motion to dismiss

are considered part of the pleadings if they are referred to in the plaintiff’s complaint

and are central to his claim.” Id. (quoting McCready v. eBay, Inc. 453 F.3d 882, 891

(7th Cir. 2006)). The purpose of this is “to prevent parties from surviving a motion to

dismiss by artful pleading or by failing to attach relevant documents.” 188 LLC v.

Trinity Indus., Inc., 300 F.3d 730, 735 (7th Cir. 2002). This rule “seeks to avoid the

misleading impression created by taking matters out of context” in the same way the

rule of completeness under Fed. R. Evid. 106 does. Magellan Int’l Corp. v. Salzgitter

Handel GmbH, 76 F. Supp. 2d 919, 923 (N.D. Ill. 1999) (citation modified). However,

much authority “cautions against inclusion of tenuously connected materials supplied

by [d]efendants.” Polley v. Nw. Univ., 560 F. Supp. 3d 1197, 1205–06 (N.D. Ill. 2021)

(collecting cases). Though the exact scope of the exception is uncertain, it does include

“cases in which the suit is on a contract or the plaintiff, if he has not attached, has at




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least quoted from, the document later submitted by the defendant.” Tierney v. Vahle,

304 F.3d 734, 739 (7th Cir. 2002).

      The counterclaim defendants argue Exhibits I, J, and K form the basis for L2’s

allegation that the counterclaim defendants caused L2 damage in the form of lost

opportunities. (R. 702 at 3.) These exhibits include contracts and email

communications. (See R. 664-9 to 664-11.) Though this suit does involve contracts,

contracts do not form the basis of these claims as they would in a breach of contract

case. Outside that context, the exhibits are like any other evidence and do not receive

special status at this stage. The counterclaim defendants make the additional

argument that “L2 identifies [Exhibit K] by name in its pleading,” (R. 702 at 3), but

these mere mentions are insufficient. (See 640 ¶¶ 267, 281.)

      Regarding Exhibit G, the counterclaim defendants argue “L2 explicitly

identifie[d] [the exhibit] in its Amended Counterclaim, and [the exhibit] provides the

basis for its central allegation about ‘consumer confusion’ in Count IV,” the ICFA

claim. (R. 702 at 3.) Exhibit G is an email chain, with certain portions redacted, where

Walgreens said it was exercising its right of first refusal. (R. 664-7.) Though the

exhibit may be relevant to Count IV, it is not so clearly central in the way that a

contract is central to a breach of contract claim. Nor does the amended counterclaim

include so much of the email chain’s substance that the Court must review its entirety

for the sake of completeness. (See R. 640 ¶ 272.)

      The Court, however, agrees that it may review Exhibit H in considering the

counterclaim defendants’ motion to dismiss. Exhibit H is an email chain, a portion of



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which L2 quoted in the amended counterclaim and attached as an exhibit. (R. 664-8;

R. 640 ¶ 273.) Exhibit H provides the complete document and is therefore appropriate

for the Court to review at the motion to dismiss stage.

   II. RICO CLAIMS (COUNTS I & II)

       The Court already declined to consider the counterclaim defendants’ factual

challenge to L2’s standing to bring its RICO claims.3 However, the Court must also

evaluate the defendants’ facial standing challenge. (See R. 663-1 at 13 (describing its

challenge as “partially facial and partially factual”).)

       First, the counterclaim defendants argue L2 failed to cure its “lost

opportunities” theory: that the alleged scheme deprived L2 “of management fees,

consulting fees, and any appreciation in the value of the properties, as well as the lost

opportunity to flip the properties as [the counterclaim d]efendants themselves did.”

(R. 640 ¶ 232.) The Court’s order on the counterclaim defendants first motion to

dismiss found this alleged harm was

              inherently speculative as it depends on several variables,
              e.g. whether a store would have been listed for sale,
              whether it would have been in a market L2 was interested
              in, whether the price would have been one L2 would have
              been willing to pay, whether L2 would have had the




   3 The counterclaim defendants argue L2 lacks standing to bring its RICO claims and that

the new allegations in the amended counterclaim foreclose L2’s pleading honest services
fraud as a RICO predicate. (R. 663-1 at 14–24.) Specifically, the counterclaim defendants
argue their exhibits disprove L2’s standing theory for certain properties: the El Paso and
Circle Pines properties. (R. 663-1 at 14–17.) The Court rejects these arguments because they
rely solely on exhibits the Court cannot consider at this stage. (See id. (citing counterclaim
defendants’ Exhibits C–E, L–M).) The Court also rejects the counterclaim defendants’
arguments opposing L2’s “lost opportunities” theory to the extent they rely on extrinsic
documents. (See id.at 19 (citing counterclaim defendants’ Exhibits A–B, J–K).)
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             necessary funding to purchase the property, etc., which
             render any alleged harm uncertain.

(R. 613 at 3.) The amended counterclaim remedies these deficiencies; it lists 25

properties which the counterclaim defendants allegedly flipped and L2 offered to

purchase. (R. 640 ¶¶ 106–204.) L2 has therefore “alleged concrete, compensable

damages flowing directly from [the] alleged scheme.” Cement-Lock v. Gas Tech. Inst.

No. 05 C 0018, 2006 WL 3147700, at *4 (N.D. Ill. Nov. 1, 2006).

      Second, the counterclaim defendants argue the additional allegations in the

amended counterclaim foreclose L2’s claim of honest services fraud as a RICO

predicate act. (R. 663-1 at 20–24.) “The breach of a fiduciary duty is a required

element of . . . honest-services fraud . . . .” United States v. Nayak, 769 F.3d 978, 979

n.1 (7th Cir. 2014). The amended counterclaim alleges the kickback scheme violated

the Walgreens Code of Conduct for Suppliers (R. 640 ¶¶ 209–10), which is sufficient

to allege a breach of fiduciary duty. See SEC v. Steffes, 805 F. Supp. 2d 601, 614–16

(N.D. Ill. 2011) (holding allegations that employees violated a company code of

conduct sufficiently alleged a breach of fiduciary duty). The counterclaim defendants

point to documents attached to the amended counterclaim showing that the

counterclaim defendants disclosed and received authorization for these transactions.

(R. 663-1 at 21.) However, reading the amended counterclaim in a light most

favorable to L2, which the Court must do even when Rule 9(b)’s heightened pleading

standard applies, this at best presents a factual issue to be resolved at a later point.

See, e.g., Sloan v. Anker Innovations Ltd., 711 F. Supp. 3d 946, 965 (N.D. Ill. 2024)




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(concluding a complaint, reviewed in the light most favorable to the plaintiffs, met

the Rule 9(b) particularity standard).

      For these reasons, the counterclaim defendants’ motion to dismiss is denied

with respect to Counts I and II.

   III.       INTERFERENCE CLAIM (COUNT III)

      “To state a claim under Illinois law for intentional interference with

prospective economic advantage ‘a plaintiff must allege (1) a reasonable expectancy

of entering into a valid business relationship, (2) the defendant’s knowledge of the

expectancy, (3) an intentional and unjustified interference by the defendant that

induced or caused a breach or termination of the expectancy, and (4) damage to the

plaintiff resulting from the defendant’s interference.’” Foster v. Principal Life Ins. Co.,

806 F.3d 967, 971 (7th Cir. 2015) (quoting Voyles, 751 N.E.2d at 1133).

      The counterclaim defendants argue L2 lacks standing to bring its tortious

interference with prospective economic advantage claim because “L2’s business

expectancy . . . was solely based on the submission of a letter of intent,” and because

“L2’s allegations indicate that the sole proximate cause of its harm was being outbid

by a competing open offer.” (R. 663-1 at 24–25 (emphasis in original).) This “standing”

argument is a repackaged version of arguments in Walgreens’ first motion to dismiss

(See R. 457 at 29–33.) There, Walgreens argued L2’s tortious interference claim was

barred by the privilege of lawful competition, and that L2 did not have a reasonable

expectation of a prospective business advantage because L2 only submitted an offer

to purchase. (Id.)



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      The lawful competition privilege is an affirmative defense; L2 does not need to

plead around it, and the amended counterclaim does not plead facts that show it

applies. See ATC Healthcare Servs. Inc. v. RCM Techs. Inc., 282 F. Supp. 3d 1043,

1053 (N.D. Ill. 2017) (citing U.S. Gypsum Co. v. Ind. Gas Co., 350 F.3d 623, 626 (7th

Cir. 2003)) (“[T]he Illinois Supreme Court classifies the competitor’s privilege as an

affirmative defense. [A complaint] is generally not required to plead around an

affirmative defense to survive a motion to dismiss.”). However, L2 is required to plead

“a reasonable expectancy of entering into a valid business relationship.” Foster, 806

F.3d at 971. The amended counterclaim achieves this. “Under Illinois [l]aw,

[p]laintiffs can successfully allege a reasonable expectancy of entering into a business

relation by alleging prospective business with specific companies.” Pittsfield Dev.,

LLC v. Lynd, No. 19 C 01321, 2021 WL 3618275, at *5 (N.D. Ill. Aug. 16, 2021) (citing

Schuler v. Abbott Laboratories, 639 N.E.2d 144 (Ill. App. Ct. 1993)) (finding

reasonable expectation adequately pled based on letters of intent). The amended

counterclaim alleges L2 had this reasonable expectation based on letters of intent

submitted to the owners of various Walgreens-leased properties. (R. 640 ¶¶ 88, 98–

101, 246.)

      The counterclaim defendants also argue the amended counterclaim does not

allege intentional and unjustified interference. (R. 663-1 at 25–26.) “Examples [of

such interference] include ‘fraud, deceit, intimidation, or deliberate disparagement.”

Brinley Holdings Inc. v. RSH Aviation, Inc., 580 F. Supp. 3d 520, 557 (N.D. Ill. 2022)

(quoting Soderlund Bros., Inc. v. Carrier Corp., 663 N.E.2d 1, 8 (Ill. App. Ct. 1995)).



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It is “confined to cases in which the defendant employed unlawful means to stiff a

competitor.” Speakers of Sport, Inc. v. ProServ, Inc. 178 F.3d 862, 867 (7th Cir. 1999).

Because the Court previously found L2 sufficiently alleged RICO predicates of

various types of fraud (see supra; R. 613 at 3–4), the Court finds the amended

complaint alleges intentional and unjustified interference.

         For these reasons, the counterclaim defendants’ motion to dismiss is denied

with respect to Count III.

   IV.      ICFA AND IDTPA CLAIMS (COUNTS IV & V)

         The Court previously dismissed L2’s claim under the ICFA because L2 failed

to allege a nexus between the alleged conduct and Illinois consumers. (R. 613 at 6.)

The Court also dismissed its claim under the IDTPA because “the disputed

transactions did not primarily and substantially occur in Illinois.” (Id.) The

counterclaim defendants argue that these two claims continue to be deficient in these

respects. (R. 663-1 at 2.)

         “[A] plaintiff may pursue a private cause of action under the [ICFA or the

IDTPA] if the circumstances that relate to the disputed transaction occur primarily

and substantially in Illinois.” Avery v. State Farm Mut. Auto. Ins. Co., 835 N.E.2d

801, 853–54 (Ill. 2005) (discussing the ICFA); accord Ipox Schuster, LLC v. Nikko

Asset Mgmt. Co., Ltd., 191 F. Supp. 3d 790, 807–08 (N.D. Ill. 2016) (citing Avery, 835

N.E.2d at 854) (discussing the IDTPA). In its response brief, L2 identifies allegations

in the amended counterclaim identifying the parties’ connections to Illinois. (R. 686

at 28–29.) These are the same allegations the Court previously concluded were not

sufficient. (See R. 493 at 35 (citing the counterclaim defendants’ locations in Illinois,
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communications originating from Illinois, and proceeds from the transactions flowing

back to Illinois).) L2’s amended counterclaim merely breaks these same allegations

into smaller pieces; doing so does not increase the sum of the parts.

      L2 also argues that the amended counterclaim alleges “[t]he agreements . . . to

deceptively execute new leases, and to allocate and distribute proceeds from the SSP

transactions, were executed in and governed by the laws of Illinois,” (R 686 at 29),

but the amended counterclaim tells a different story. It only alleges that agreements

between certain counterclaim defendants “to execute new leases and allocate and

distribute sales proceeds were governed by the laws of Illinois” (R. 640 ¶ 277); this

says nothing about where the disputed transactions, i.e., the underlying property

flips, occurred. However, L2 does allege that it failed to purchase two properties

located in Illinois, the Sycamore and Sterling properties. (Id. ¶ 59.) With respect to

these properties, L2 sufficiently alleged that the ICFA and IDTPA apply.

             A.    ICFA Claim (Count IV)

      The counterclaim defendants argue that the Sycamore and Sterling properties

are not actionable under the ICFA because the counterclaim defendants did not allege

the required elements. (R. 663-1 at 26–27.) “The elements of a claim under ICFA are:

(1) a deceptive or unfair act or practice by the defendant; (2) the defendant’s intent

that the plaintiff rely on the deceptive or unfair practice; and (3) the unfair or

deceptive practice occurred during a course of conduct involving trade or commerce.”

Siegel v. Shell Oil Co., 612 F.3d 932, 934 (7th Cir. 2010) (citing Robinson v. Toyota

Motor Credit Corp., 775 N.E.2d 951, 960 (2002)).



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       L2’s ICFA claim fails on the intent element. The intent element requires that

the defendant intended for the plaintiff to rely on the deceptive or unfair practice,

even if the defendant did not directly engage in the deceptive or unfair practice with

the plaintiff. See Clark v. Receivables Mgmt. Partners, LLC, No. 21 C 00298, 2022 WL

767149, at *3 (citing Capiccioni v. Brennan Naperville, 791 N.E.2d 553, 558 (Ill. App.

Ct. 2003)). L2 argues it “has pleaded facts showing that Walgreens specifically sought

to exercise its [right of first refusal] to take opportunities from L2 . . . even where

Walgreens had previously rejected the deals.” (R. 686 at 32.) But this means that

Walgreens intended to cause damage to L2; it does not mean that Walgreens also

intended for L2 to rely on any deceptive or unfair practice. Indeed, if Walgreens’ goal

was to exercise its contractual right of first refusal, as L2 alleges, it is unclear in what

way Walgreens expected L2 to rely on that misrepresentation; whether L2 pressed

forward with its attempted purchase or not would have made no difference to

Walgreens. Walgreens’ lack of intent for specifically L2 to rely on any deceptive or

unfair practice is underscored by an email in the amended complaint where

Walgreens said it would decline to exercise its right of first refusal. (See R. 640 ¶ 270;

R. 641-3.) L2 received this information through a listing agent, not Walgreens. (Id.)

There is no indication that Walgreens even intended L2 to receive this alleged

misrepresentation.

       For these reasons, the counterclaim defendants’ motion to dismiss is granted

with respect to Count IV.




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              B.     IDTPA Claim (Count V)

       Moving to L2’s IDTPA claim, the counterclaim defendants argue L2 failed to

allege consumer confusion or deception. (R. 663-1 at 27.) As relevant here, the IDTPA

defines a “deceptive trade practice” as one that “(2) causes likelihood of confusion or

of misunderstanding as to the source, sponsorship, approval, or certification of goods

or services;” “(3) causes likelihood of confusion or of misunderstanding as to

affiliation, connection, or association with or certification by another;” or “(8)

disparages the goods, services, or business of another by false or misleading

representation of fact.” 815 ILCS 510/2(2), (3), (8). L2 alleges the counterclaim

defendants misrepresented that stores were in danger of closing through “poor

performance” letters, “misrepresenting to new buyers that they are dealing with

Swanson Development or Cardinal . . . when in truth Walgreens is behind the

transaction,” and “failing to disclose the truth of the SSP scheme to potential buyers

and sellers.” (R. 640 ¶ 287.) Only the latter two theories are applicable because L2

does not allege that poor performance letters were used in either the Sycamore or

Sterling properties’ sales. (See R. 640 ¶¶ 125–28, 165–68.) According to the

counterclaim defendants, an email exchange between defendant Flores and the

Sycamore property’s landlord proves a lack of deception because “the landlord was

aware of the material aspects of the transaction after Walgreens exercised the [right

of first refusal].”4 (R. 663-1 at 27–28 (alteration in original) (citing R. 664-8).) Though

this may cut against L2’s allegations, it does not definitively show a lack of deception.


   4 The counterclaim defendants also cite Exhibit G as support. (See R. 663-1 at 27.) For the

reasons stated supra, the Court does not consider this argument.
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       The counterclaim defendants also argue that the amended counterclaim does

not allege trademark infringement, false advertising, or an effect on a good or service

as required by the IDTPA. (R. 663-1 at 27 n.20.) Though the text of the IDTPA does

not clearly limit itself to trademark or false advertising cases, see generally 815 ILCS

510, the counterclaim defendants correctly point out that the amended counterclaim

fails to allege the “goods or services” element. The amended counterclaim does not

identify any good or service, the source of which the counterclaim defendants caused

confusion, under subsection (2). (See generally R. 640 ¶¶ 283–92.) At best, it alleges

deception about the identity of the purchasers,5 not “the source, sponsorship,

approval, or certification of goods or services.” (See id. ¶ 287); 815 ILCS 510/2(2). The

counterclaim defendants are similarly correct regarding L2’s claim under subsection

(8); the amended counterclaim does not allege the counterclaim defendants

disparaged the quality of any goods or services concerning the Sycamore and Sterling

properties’ purchases. See Kole v. Village of Norridge, 941 F. Supp. 2d 933, 964 (N.D.

Ill. 2013) (citing Am. Wheel & Eng’g Co. v. Dana Molded Prods., 476 N.E.2d 1291,

1295–96 (Ill. App. Ct. 1985)) (“To state a claim under the IDTPA, a plaintiff must

allege that the defendant disparaged the quality of its goods or services.”). Subsection

(3), on the other hand, does not contain a “goods or services” requirement. See 815

ILCS 510/2(3). Count V may proceed under that section.


   5 The amended counterclaim does allege, “In effect, Walgreens was both the buyer and

the seller of each property in the SSP.” (R. 640 ¶ 5.) But the complaint does not allege with
particularity any misrepresentations made after the counterclaim defendants acquired the
properties or how those misrepresentations harmed L2. See Jano Just. Sys., Inc. v. Burton,
No. 08 C 3209, 2008 WL 5191765, at *3 (N.D. Ill. 2008) (looking to whether the underlying
conduct sounds in fraud to decide whether to apply Fed. R. Civ. P. 9(b)).
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                                   CONCLUSION

      The counterclaim defendants’ motion to dismiss [663], [664] is granted as to

Count IV and denied as to Counts I, II, III, and V. The counterclaim plaintiff’s request

for leave to amend is granted. No further amendments will be allowed absent

extraordinary circumstances. The counterclaim plaintiff shall file any amended

counterclaim by July 11, 2025, and the counterclaim defendants shall answer the

operative counterclaim by August 1, 2025.



Date: June 20, 2025
                                                      JEREMY C. DANIEL
                                                      United States District Judge




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